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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


FIH, LLC                                 Case No. 3:15-cv-00785 (JBA)

                    Plaintiff,

      - against -

FOUNDATION CAPITAL
PARNERS LLC, f/k/a
FOUNDATION MANAGING                      NOTICE OF APPEAL
MEMBER LLC; DEAN BARR;
JOSEPH MEEHAN; THOMAS
WARD; and
JOSEPH ELMLINGER,
                    Defendants.


      Notice is hereby given that Plaintiff in the above-captioned action, FIH,

LLC, by and through its undersigned counsel, hereby appeals to the United States

Court of Appeals for the Second Circuit from (a) the Court’s Ruling and Order

dated January 31, 2018 and the Judgment entered on February 1, 2018, dismissing

Plaintiff’s federal claim on summary judgment and dismissing Plaintiff’s state law

claims for lack of subject matter jurisdiction; and (b) the Court’s Order dated

March 30, 2016 granting in part Defendants’ motion to dismiss.
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Dated: New York, NY                      SADIS & GOLDBERG LLP
       February 6, 2018
                                         /s/ Samuel J. Lieberman
                                         By: Samuel J. Lieberman (phv08633)
                                              Ben Hutman (phv08726)
                                              551 Fifth Avenue, 21st Floor
                                              New York, New York 10176
                                              (212) 947-3793 telephone
                                              (212) 573-6662 fax
                                              slieberman@sglawyers.com
                                              bhutman@sglawyers.com

                                             James I. Glasser (ct07221)
                                             Wiggin and Dana, LLP
                                             One Century Tower
                                             265 Church Street, P.O. Box 1832
                                             New Haven, CT 06508-1832
                                             (203) 498-4313 telephone
                                             203) 782-2889 fax
                                             jglasser@wiggin.com

                                             Attorneys for FIH, LLC.




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